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                 UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF MICHIGAN
                      SOUTHERN DIVISION


In   Re:   AUTOMOTIVE               PARTS Master File No. 12-md-02311
ANTITRUST LITIGATION                      Honorable Marianne O. Battani

ALL PARTS


THIS RELATES TO:

Dealership Actions



                             ORDER
          REGARDING SEALING FROM PUBLIC VIEW OF
              HIGHLY CONFIDENTIAL TRANSCRIPT
  ______________________________________________________________


      Upon consideration of Dealership Plaintiffs’ (“Dealership Plaintiffs”)

motion to seal from public view the transcript of the May 11, 2016 hearing on

Defendants’ Motion to Lift the Provisional Sealing of a Portion of the Rule

30(b)(1) Deposition of George R. Nisbet, due to its containing information

Dealership Plaintiffs have designated as Highly Confidential, pursuant to the

Stipulation and Protective Order Governing the Production and Exchange of

Confidential Information entered in 2:12-md-02311-MOB-MKM [Doc. #200],

which authorizes and requires filings containing Highly Confidential Information
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to be filed under seal in any case within 12-md-02311and the Master finding good

cause having been shown, it is hereby:

      ORDERED that the Dealership Plaintiffs’ motion to seal the record from

public view is GRANTED. The transcript will be treated as Highly Confidential

pursuant to the Stipulation and Protective Order Governing the Production and

Exchange of Confidential Information entered in 2:12-md-02311-MOB-MKM

[Doc. #200].




      IT IS SO ORDERED

Dated: June 3, 2016                        /s/ Gene J. Esshaki
                                           Special Master Gene J. Esshaki
